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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

                           CASE NO. _____________

ERICIA APOLINAR,

        Plaintiff,

v.

EQUIFAX INFORMATION
SERVICES LLC,

      Defendant.
__________________________________/

       DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
                   NOTICE OF REMOVAL

      COMES NOW, Equifax Information Services LLC (“Equifax”), and files this

Notice of Removal pursuant to 28 U.S.C. §1446(a) and in support thereof would

respectfully show the Court as follows:

                     A.    PROCEDURAL BACKGROUND

      1.     On December 7, 2023, Plaintiff Ericia Apolinar (“Plaintiff”) filed her

Complaint (“Complaint”) in this action in the County Court of the Tenth Judicial

Circuit Court in and for Polk County, Florida, Case No. 23SC-009395-0000-LK

(“State Court Action”). Plaintiff alleges violations of the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681, et seq., against Defendant.


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      2.     Equifax was served with Plaintiff’s Summons and Complaint on

December 14, 2023. A copy of the State Court Complaint is attached hereto as

Exhibit A. This Notice of Removal is being filed within the thirty (30) day-time

period required by 28 U.S.C. § 1446(b).

                       B.        GROUNDS FOR REMOVAL

      3.     The present suit is an action over which the United States District

Court for the Middle District of Florida, Tampa Division, has original jurisdiction

pursuant to 28 U.S.C. § 1331, as it is a civil action founded on a claim or right

arising under the laws of the United States. This civil action may be removed to

this Court by Defendant pursuant to the provisions of 28 U.S.C. § 1446(b). Removal

is proper because Plaintiff’s claims present a federal question. 28 U.S.C. §§ 1331

and 1441(a). In the Complaint, Plaintiff seeks damages for Defendant’s alleged

violations of the Federal Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.

      C.     COMPLIANCE WITH PROCEDURAL REQUIREMENTS

      4.     Pursuant to 28 U.S.C. § 1441(a), venue of the removal action is proper

in the United States District Court for the Middle District of Florida, Tampa

Division, because it is in the district and division embracing the place where the

state court action is pending.

      5.      In accordance with 28 U.S.C. § 1446(a), a copy of all executed

process, pleadings asserting causes of action, and orders in the State Court Action
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served upon Defendant Equifax are attached hereto as Exhibit B.

        6.     Promptly after the filing of this Notice of Removal, Equifax shall give

written notice of the removal to the Plaintiff and will file a copy of this Notice of

Removal with the County Court of the Tenth Judicial Circuit Court in and for Polk

County, Florida, as required by 28 U.S.C. § 1446(d).

        WHEREFORE, Equifax respectfully prays that the action be removed to this

Court and that this Court assume full jurisdiction as if it had been originally filed

here.



Dated: January 2, 2024                      Respectfully submitted,

                                            SQUIRE PATTON BOGGS (US) LLP

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                                            Information Services LLC




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                         CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that a true copy of the foregoing document has been

filed via the CM/ECF filing system this January 2, 2024, which will serve an

electronic Notice of Filing to all registered users. I further certify that a copy of

the foregoing document was provided to Plaintiff’s counsel via email transmission:

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     Counsel for Plaintiff


                                          /s/ Jason Daniel Joffe
                                          Jason Daniel Joffe




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